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                                                                                          Moseley House
                                                                                      1001 Grove Avenue
                                                                                             Box 842549
                                                                                           Richmond, VA
                                                                                             23284-2549

SENSITIVE & PRIVATE

November 16, 2018

RE: EAS Inquiry – Case #20181019

Dear Professor Tapia,

Thank you for participating in the inquiry by Equity and Access Services (EAS) initiated by the Dean
of V CUarts. This l etter s erves as t he EAS written r eport o f the i nquiry and ad ministrative r eview,
pursuant t o S ection 6 ( “Administrative Review”) of V CU’s Preventing and R esponding t o
Discrimination Policy (“Policy”), as discussed at our meeting on November 14.

The subject of the E AS inquiry was potential discrimination by you against Professor                in t he
Department o f Painting and P rintmaking ( PAPR)/School of t he A rts ( SOTA) on O ctober 25, 2 018.
Specifically, it was reported that you contacted the building Security Officer about Professor
presence i n a P APR w ork room a nd t hat y ou di d s o based o n Professor               ra ce (A frican-
American) a nd/or c olor ( Black). P rofessor         and you ( “parties”) as well as the S ecurity O fficer
and t he P APR D epartment C hair ( “witnesses”) par ticipated i n t he E AS i nquiry. F indings of F act
prepared by t he E AS investigator, al ong with exhibits s uch as photographs o f t he i ncident l ocation,
are attached to this letter and will be referenced throughout. Please note these are the same Findings
of Fact provided during our meeting.

Policy Information

The Policy prohibits discrimination based on protected identity, including race and/or color, in VCU’s
educational, e mployment, s ocial a nd r esidential pr ograms. D iscrimination i ncludes har assment and
other abusive behavior, whether verbal or physical that is based on protected identity.

Harassing conduct may take many forms, including verbal acts and name-calling, graphic and written
statements which may include use of cell phones or the internet, physical conduct or other conduct
that may be physically threatening, harmful, or humiliating. Harassment creates a hostile environment
when t he c onduct i s s ufficiently s evere, per vasive or per sistent as t o i nterfere w ith or l imit an
individual’s ability to participate in or benefit from the university’s educational, employment, social or
residential programs. When such harassment is based on a protected identity such as race or color, it
violates the Policy.
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To determine whether a hostile environment exists, E AS considers the totality of the circumstances
from both an objective and s ubjective p erspective an d examines t he c ontext, n ature, s cope,
frequency, duration, and location of incidents, as well as the identity, number, and relationships of the
persons i nvolved. H arassment must c onsist o f more t han c asual, i solated i ncidents t o constitute a
hostile environment. The Policy notes that “[t]reatment that does not constitute unlawful discrimination
still may be inappropriate and prohibited by other university policies.”

In an a dministrative r eview under t he P olicy, E AS c onsiders al l known i nformation i ncluding t he
nature and the severity of the allegations, whether the allegations are amenable to resolution through
other c hannels, s uch as H uman R esources or m anagement, the h istory of pr ior c omplaints ag ainst
the s ame i ndividuals, dep artment and/or a rea, t he ex pressed w ishes ( if k nown) o f t he a ffected
individual(s) and any other pertinent information.

Results of EAS Inquiry and Administrative Review under the Policy

Based on the attached Findings of Fact, the summarized undisputed factual evidence is that:

On the morning of October 25, 2018, following a br ief encounter with an i ndividual in a P APR multi-
purpose room (room 313), Professor Tapia asked the building’s Security Officer who already was on
the third floor assisting with another matter, to check on the individual. The individual,
is a v isiting adjunct professor who i dentifies as an A frican-American/Black w oman. P rofessor Tapia
and Professor            did not know one another. Professor                was present in the room to work on
her l aptop a nd t o e at br eakfast pr ior t o her s tudio v isits. T he r oom i s s ecured by a c ode and i s
available only t o faculty and graduate s tudents. T he S ecurity O fficer as ked Professor                 to
identify herself, and Professor           provided VCU identification.

The i nteractions between P rofessor             an d you also between t he S ecurity O fficer and y ou,
including t iming and r oom l ighting, w ere i n di spute. The E AS i nvestigator r esolved t hese factual
disputes and inconsistencies in favor of Professor           and the Security Officer and found that:

Fact #9: Tapia and           made eye contact, and             greeted Tapia.

Fact #11: The overhead lights in Room 313 were off, but the room was well-lit, not dark.

Fact #17: Tapia approached [the Security Officer] and requested that she go to Room 313. He asked
her to determine whether there was a s tudent inside as he asserted students were not permitted to
use the room.

Fact # 22: T he i nteraction b etween T apia and      t ook place s hortly b efore 8:30 a.m., an d [ the
Security Officer] went to Room 313 less than ten minutes later.

See the attached Findings of Fact for the investigator’s explanation of the resolution of these factual
disputes and for the full set of the Findings of Fact.

The F indings o f F act, par ticularly when v iewed i n t he l ight m ost f avorable t o P rofessor
demonstrate th at your initiation o f t he s ecurity c heck w as not r elated t o t he pr inting pr ess s earch
and/or Professor            failure to respond to a knock on the door and instead demonstrate that it
was based on your assumption t hat P rofessor                w as not a uthorized t o b e i n t he r oom. This
assumption was not based on any thing Professor                  was doi ng ( or not doi ng). H er ac tivities

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(eating br eakfast an d working on h er l aptop) w ere ent irely appr opriate a nd not o ut of t he or dinary.
Further, your statements ab out “Robert De Niro and pipe bombs” when discussing the incident with
the Chair indicate that you perceived the situation to be potentially dangerous, despite the fact t hat
you did not observe any actions or conditions that reasonably could be c haracterized as pot entially
dangerous. E ven if you had assumed that Professor                was an undergraduate student (as you
communicated t o t he S ecurity O fficer bu t deni ed dur ing t he i nquiry), t he m ere pr esence o f a n
undergraduate student in the room would not reasonably lead to concern about pipe bombs or other
violent acts.

What this evidence demonstrates is that you initiated the security check based on your assumption
that P rofessor         may not h ave be en authorized t o b e i n t he r oom a nd y our as sumption w as
based on your lack of familiarity with Professor           and her appearance (as a student, at least as
communicated t o the S ecurity O fficer). Your account attempts t o m inimize t he s ignificance of
Professor           appear ance i n your decision t o i nitiate t he s ecurity c heck, t hrough your timeline
and other details provided by you, which are contravened by the evidence.

What this evidence does not demonstrate is that you initiated the security check based on Professor
           race and/or color. You did not overtly do or say anything that demonstrated that his decision
to contact security was due to Professor               protected identities. The inquiry did not stop there,
however. During the inquiry, EAS asked about any prior complaints against you which may indicate
hostility toward a pr otected group, searched its records and also contacted all of the other university
offices l ikely t o hav e received s uch c omplaints ( SOTA, O ffice of the P rovost, H uman Resources,
Integrity and Compliance Office). The Department Chair and you denied any prior complaints, and no
such r ecords w ere l ocated by E AS or any of the other c ontacted uni versity of fices. SOTA al so
reviewed student course evaluations for any concerns raised about discriminatory treatment by you,
and no such concerns have been identified.

Additionally, due t o social m edia external t o the u niversity about the i ncident, E AS an d S OTA both
received a high volume of emails from people expressing interest in this matter and concerns about
the climate and culture in PAPR, SOTA and/or VCU generally. None of these emails provided specific
information ab out i ncidents i nvolving you. I n r esponse t o a ny e mails making g eneral r eference to
other i ncidents or r elated b ehaviors, E AS an d SOTA i nvited t he s enders t o provide a dditional
information. No such additional information was received.

Similarly, there was no ev idence that you treated other individuals who are not African-American or
who are not Black more favorably in similar situations.

Rather, t he ev idence provided by t he S ecurity O fficer t hat you asked her t o c heck o n a s tudent
constitutes a nondiscriminatory, valid reason for his decision to initiate the check in light of the policy
limiting r oom us e t o faculty and g raduate s tudents. Whether your initiation of t he s ecurity c heck,
absent evidence that it was discriminatory, was reasonable or warranted under the circumstances is
outside EAS’s scope to determine. Professor             also noted to the investigator that she has been
mistaken for a student elsewhere based on her “youthful appearance”.

Your initiation o f t he security c heck does n ot r ise t o t he l evel o f s evere, pervasive, or per sistent
conduct, which must be present for a finding of discrimination to be made under VCU policy, which is
based on t he relevant legal standards. As an initial matter, the available evidence is that this was a
solitary ac t an d not part o f a p ervasive or per sistent c ourse of b ehavior. With r espect to the
circumstances, you approached t he S ecurity O fficer as signed t o t he building, w ho already w as
nearby on the floor and asked her to respond. Professor                  was asked to provide identification,
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which s he di d, and t he i ncident c oncluded. Therefore, t he ev idence de monstrates t he r eported
conduct is not sufficiently severe to constitute a hostile environment under the Policy.

The l ack o f s everity u nder t he P olicy i s not t o be c onfused w ith a l ack o f i mpact u pon P rofessor
        P rofessor           has explained the impact u pon h er s ense o f c onfidence a nd her un ease
about enc ountering you at work. Mo re i mpact information furnished by t he parties i s i ncluded i n
Section II of the attached Findings of Fact.

In c onclusion, for t he r easons s tated a bove, u pon c areful r eview of al l available i nformation a nd
viewed in the light most favorable to Professor            I have determined that your action in initiating
a security check, would not constitute a violation of the Preventing and Responding to Discrimination
Policy. Accordingly, I have m ade t he following r ecommendations to t he D ean, as t he r esponsible
management official:

     •   Consult t he O ffice of the P rovost an d ot her uni versity of fices as appr opriate, t o de termine
         whether t he F indings of F act i n t his matter i ndicate a po tential v iolation of other uni versity
         policies or codes of conduct and also consider a broader assessment of concerns raised about
         the culture and climate within PAPR and the School.
     •   Notify E AS i mmediately s hould c oncerns of di scrimination i nvolving you be r eported to t he
         School dur ing a ny as sessment or at any t ime, s o that E AS c an r eassess this i ncident a nd
         determine whether there is a basis for a discrimination investigation under the Policy.
     •   Monitor t he s ituation for any pot ential r etaliation a nd i mmediately r eport any s uch p otential
         retaliation to EAS.

The P olicy s trictly pr ohibits r etaliation for “ protected ac tivity”, which i ncludes r eporting a c oncern of
discrimination i n g ood f aith and p articipating i n a process to address t he concern s uch a s t he EAS
inquiry i n t his m atter. I as k t hat y ou i mmediately not ify E AS an d/or t he D ean i mmediately i f you
believe you are experiencing retaliation.

At t his t ime, unless a dditional i nformation i s r eceived, t he E AS i nquiry with ad ministrative r eview i s
now c oncluded a nd no further ac tion w ill be t aken t hrough t he EAS i nvestigation and r esolution
process.

If y ou h ave any q uestions r egarding t his l etter, pl ease c ontact m e at ( 804) 82 8-6404, or
lrugless@vcu.edu.

Sincerely,


Laura Rugless
Executive Director of Equity and Access Services
& Title IX Coordinator

Encl: as

C:       Shawn Brixey, Dean, School of the Arts
         Gypsy Denzine, Ph.D., Senior Vice Provost for Faculty Affairs, Office of the Provost
         Aashir Nasim, Ph.D., Vice President for Inclusive Excellence, Professor and Director, VCU
         iCubed
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